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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                      IN THE UNITED STATES DISTRICT COURT                                June 28, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                HOUSTON DIVISION

NIURKA MARIA GARCIA ANDRE,                      §
                                                §
                      Plaintiff,                §
                                                §
v.                                              §   CIVIL ACTION NO. H-23-1754
                                                §
MARTIN O’MALLEY,                                §
Commissioner of the Social                      §
Security Administration,                        §
                                                §
                      Defendant.                §

         MEMORANDUM AND OPINION ADOPTING THE MEMORANDUM
                      AND RECOMMENDATION

       Niurka Maria Garcia Andre filed this action under the Social Security Act, 42 U.S.C.

§ 405(g), for review of the Commissioner’s final decision denying her request for disability

insurance based on her inability to work since 2017 because of PTSD, lumbar radiculopathy,

attempted suicide, depression, anxiety, diabetes, high blood pressure, and migraines. Andre and

the Commissioner cross-moved for summary judgment. (Docket Entry Nos. 10, 13). Judge

Richard Bennett recommended granting both motions in part and denying them in part and

remanding to the Commissioner for further administrative proceedings. After considering the

pleadings, the record, and the applicable law, the court adopts Judge Bennett’s memorandum and

recommendation. (Docket Entry No. 16). The reasons are as follows.

       Andre filed an application for disability insurance benefits in 2017, alleging that she has

been disabled since 2017. After a hearing and a supplemental hearing, the ALJ found no basis for

disability because Andre’s impairments did not meet or medically equal the severity of one of the

listed impairments in 20 C.F.R. Part 404, Subpart P, Appendix 1. The ALJ found that Andre had

the ability to perform light work as defined in 20 C.F.R. 404.1567(b) and 416.967(b), with some
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limits, and that she could perform a number of jobs in the economy. The Appeals Council denied

Andre’s request for review. This appeal followed.

       In a detailed and careful opinion, the magistrate judge analyzed the record. The judge

recommended denying Andre’s motion for summary judgment with respect to her claim that the

ALJ failed to sufficiently address the persuasiveness factors as to some of the medical opinions

and as to her claim that an assistive device was necessary. The judge recommended granting

Andre’s motion for summary judgment as to the claim that the ALJ failed to sufficiently address

the remaining doctors’ medical opinions. The judge recommended granting the Commissioner’s

motion for summary judgment with respect to Andre’s claims regarding the ALJ’s findings about

the assistive device and the persuasiveness factors regarding Dr. Willits and Dr. Campa’s medical

opinions. The judge recommended denying the Commissioner’s motion for summary judgment

with respect to the remaining doctors’ medical opinions.

       The court finds that the magistrate judge properly considered the evidence and correctly

applied the applicable law. The memorandum and recommendation of Judge Bennett is adopted

as this court’s memorandum and opinion. An order of remand to the Commissioner is separately

entered.

              SIGNED on June 28, 2024, at Houston, Texas.



                                            _______________________________________
                                                         Lee H. Rosenthal
                                                    United States District Judge




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